 Fill in this information to identify the case:

 Debtor 1    GERALD JOSEPH OFIER, JR A/K/A GERALD J OFIER

 Debtor 2      TAMMY J OFIER
 (Spouse, if filing)

 United States Bankruptcy Court for the: Middle District of Pennsylvania

 Case number 5:17-bk-02356-RNO




 Form 4100R
 Response to Notice of Final Cure Payment                                                                                            12/15
According to Bankruptcy Rule 3002.1(g), the creditor responds to the trustee’s notice of final cure payment.


  Part 1:     Mortgage Information

  Name of Creditor: Wells Fargo Bank, National Association, as Trustee for Securitized                           Court claim no. (if known):
  Asset Backed Receivables LLC Trust 2005-FR2 Mortgage Pass-Through Certificates,                                  13
  Series 2005-FR2

  Last 4 digits of any number you use to identify the debtor’s account: 0193

  Property address:            407 Russell Ct
                               Number Street
                               Effort, PA 18330
                               City    State    ZIP Code



  Part 2:     Prepetition Default Payments

  Check one:
      Creditor agrees that the debtor(s) have paid in full the amount required to cure the prepetition default
      on the creditor’s claim.
      Creditor disagrees that the debtor(s) have paid in full the amount required to cure the prepetition default
      on the creditor’s claim. Creditor asserts that the total prepetition amount remaining unpaid as of the date
      of this response is:                                                                                              $ _______________


  Part 3:     Postpetition Mortgage Payment

  Check one:

      Creditor states that the debtor(s) are current with all postpetition payments consistent with § 1322(b)(5) of
      the Bankruptcy Code, including all fees, charges, expenses, escrow, and costs.

      The next postpetition payment from the debtor(s) is due on: __________
                                                                           MM/DD/YYYY


      Creditor states that the debtor(s) are not current on all postpetition payments consistent with § 1322(b)(5)
      of the Bankruptcy Code, including all fees, charges, expenses, escrow, and costs.

      Creditor asserts that the total amount remaining unpaid as of the date of this response is:

      a. Total postpetition ongoing payments due:                                                                       (a) $ 4,652.36

      b. Total fees, charges, expenses, escrow, and costs outstanding:                                                 +(b) $ 0.00

      c. Total. Add lines a and b.                                                                                       (c) $ 4,652.36

       Creditor asserts that the debtor(s) are contractually
       obligated for the postpetition payment(s) that first became              10/01/2020
       due on:                                                                    MM/DD/YYYY




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Debtor1     GERALD JOSEPH OFIER, JR A/K/A GERALD J OFIER                                            Case number (if known) 5:17-bk-02356-RNO
              First            Middle              Last



Part 4:      Itemized Payment History


  If the creditor disagrees in Part 2 that the prepetition arrearage has been paid in full or states in Part 3 that the
  debtor(s) are not current with all postpetition payments, including all fees, charges, expenses, escrow, and costs,
  the creditor must attach an itemized payment history disclosing the following amounts from the date of the
  bankruptcy filing through the date of this response:
   all payments received;
   all fees, costs, escrow, and expenses assessed to the mortgage; and
   all amounts the creditor contends remain unpaid.




Part 5:      Sign Here


  The person completing this response must sign it. The response must be filed as a supplement to the creditor’s
  proof of claim.

  Check the appropriate box::
      I am the creditor.
      I am the creditor’s authorized agent.



 I declare under penalty of perjury that the information provided in this response is true and correct
 to the best of my knowledge, information, and reasonable belief.
 Sign and print your name and your title, if any, and state your address and telephone number if different
 from the notice address listed on the proof of claim to which this response applies.


            /s/Mario Hanyon
                  Signature
                                                                                                   Date 01/07/2021



 Print            Mario Hanyon                                                                 _          Title   Attorney                     _
                  First Name                     Middle Name            Last Name




 Company          Brock & Scott, PLLC                                                          _



 If different from the notice address listed on the proof of claim to which this response applies:



 Address          302 Fellowship Road, Ste 130                                                 _
                  Number                Street



                  Mount Laurel, NJ 08054
                  City                                                  State           ZIP Code


 Contact phone    844-856-6646 x4560                  Email p a b k r @ b r o c k a n d s c o t t. co m




Form 4100R                                                      Response to Notice of Final Cure Payment                                            page 2

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                                IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE MIDDLE DISTRICT OF PENNSYLVANIA
                                            Wilkes-Barre Division


IN RE:

GERALD JOSEPH OFIER, JR A/K/A GERALD J                Case No. 5:17-bk-02356-RNO
OFIER AND TAMMY J OFIER

                                                      Chapter 13

Wells Fargo Bank, National Association, as Trustee
for Securitized Asset Backed Receivables LLC
Trust 2005-FR2 Mortgage Pass-Through
Certificates, Series 2005-FR2,

         Movant



vs.



GERALD JOSEPH OFIER, JR A/K/A GERALD J
OFIER AND TAMMY J OFIER,
                                                      11 U.S.C. §362 and §1301
         Debtors

and

Charles J. DeHart, III

         Respondent




                                       CERTIFICATE OF SERVICE

       I, the undersigned, hereby certify that a true and exact copy of the foregoing Response To Notice Of
Final Cure Payment has been electronically served or mailed, postage prepaid on January 7, 2021 to the
following:

Service by First-Class mail:
GERALD JOSEPH OFIER, JR A/K/A GERALD J OFIER
407 RUSSEL CT
EFFORT, PA 18330-7766



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TAMMY J OFIER
407 RUSSEL CT
EFFORT, PA 18330-7766

Service by Electronic means:
Bradley Warren Weidenbaum, Debtor's Attorney
PO Box 721
Brodheadsville, PA 18322

Charles J. DeHart, III, Bankruptcy Trustee
8125 Adams Drive, Suite A
Hummelstown, PA 17036

Asst. U.S. Trustee, US Trustee
228 Walnut Street, Suite 1190
Harrisburg, PA 17101


                                             /s/ Mario Hanyon
                                             Mario Hanyon
                                             (Bar No. 203993)
                                             Attorney for Creditor
                                             BROCK & SCOTT, PLLC
                                             302 Fellowship Road, Ste 130
                                             Mount Laurel, NJ 08054
                                             Telephone: 844-856-6646 x4560
                                             Facsimile: 704-369-0760
                                             E-Mail: pabkr@brockandscott.com




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                                  Exhibit “A”




Case 5:17-bk-02356-RNO   Doc 124 Filed 01/07/21 Entered 01/07/21 13:22:11   Desc
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Name:                 Gerald Joseph Ofier, Jr                                                                                   Due Date  Due Amt
BK Case Number:           17-BK-02356-JJT                                                                                        10/1/2020 1491.18
Filing Date:                 6/5/2017                                                                                            11/1/2020 1491.18
Post First Due:              7/1/2017                                           Completed By:                                    12/1/2020 1406.48
Post-Petition Due    Date Received            Amount Received Amount Applied    Suspense Application       Suspense Balance       1/1/2021 1406.48
                                    6/15/2017          1,436.80                 $              1,436.80    $         1,436.80
         7/1/2017                   7/17/2017          1,436.00       1443.89   $                 (7.89)   $         1,428.91
         8/1/2017                   8/16/2017          1,443.89       1443.89   $                   -      $         1,428.91
         9/1/2017                   9/21/2017          1,400.00       1443.89   $                (43.89)   $         1,385.02
        10/1/2017                  10/20/2017          1,250.00       1443.89   $               (193.89)   $         1,191.13
        11/1/2017                  11/22/2017          1,300.00       1443.89   $               (143.89)   $         1,047.24
        12/1/2017                   1/11/2018          1,443.89       1443.89   $                   -      $         1,047.24
         1/1/2018                    2/9/2018          1,400.00          1517   $               (117.00)   $           930.24
         2/1/2018                    3/2/2018          1,517.00          1517   $                   -      $           930.24
         3/1/2018                    4/6/2018          1,517.00          1517   $                   -      $           930.24
         4/1/2018                   5/15/2018          1,517.00          1517   $                   -      $           930.24
         5/1/2018                   6/15/2018          1,000.00          1517   $               (517.00)   $           413.24
         6/1/2018                    8/4/2018          1,600.00          1517   $                 83.00    $           496.24
         7/1/2018                   9/10/2018          1,600.00          1517   $                 83.00    $           579.24
         8/1/2018                  11/20/2018          1,700.00          1517   $                183.00    $           762.24
         9/1/2018                    2/4/2019          1,479.78          1517   $                (37.22)   $           725.02
        10/1/2018                    3/7/2019          1,479.78          1517   $                (37.22)   $           687.80
                                     4/2/2019               760                 $                760.00    $         1,447.80
        11/1/2018                   4/16/2019               760          1517   $               (757.00)   $           690.80
                                    4/29/2019               760                 $                760.00    $         1,450.80
        12/1/2018                   5/13/2019               760       1479.78   $               (719.78)   $           731.02
         1/1/2019                   5/28/2019               760       1479.78   $               (719.78)   $            11.24
                                    7/18/2019               760                 $                760.00    $           771.24
          2/1/2019                  7/29/2019               760       1479.78   $               (719.78)   $            51.46
                                    8/13/2019               760                 $                760.00    $           811.46
          3/1/2019                  8/14/2019               760       1479.78   $               (719.78)   $            91.68
                                    8/16/2019               760                 $                760.00    $           851.68
          4/1/2019                  8/29/2019               760       1479.78   $               (719.78)   $           131.90
                                    9/25/2019               760                 $                760.00    $           891.90
          5/1/2019                  9/25/2019               760       1479.78   $               (719.78)   $           172.12
                                    9/26/2019               760                 $                760.00    $           932.12
          6/1/2019                 10/11/2019               760       1479.78   $               (719.78)   $           212.34
                                    11/1/2019               760                 $                760.00    $           972.34
          7/1/2019                 11/19/2019               760       1479.78   $               (719.78)   $           252.56
                                    12/4/2019               760                 $                760.00    $         1,012.56
          8/1/2019                 12/16/2019               760       1479.78   $               (719.78)   $           292.78
                                     1/8/2020               760                 $                760.00    $         1,052.78
          9/1/2019                   1/8/2020               760       1479.78   $               (719.78)   $           333.00
                                    1/21/2020               760                 $                760.00    $         1,093.00
        10/1/2019                    2/6/2020               760       1479.78   $               (719.78)   $           373.22
                                    2/21/2020               760                 $                760.00    $         1,133.22
        11/1/2019                    3/9/2020               760       1479.78   $               (719.78)   $           413.44
                                    3/19/2020               760                 $                760.00    $         1,173.44
        12/1/2019                    4/6/2020               760       1491.18   $               (731.18)   $           442.26
                                    4/24/2020               760                 $                760.00    $         1,202.26
          1/1/2020                   5/1/2020               760       1491.18   $               (731.18)   $           471.08
                                    5/29/2020               760                 $                760.00    $         1,231.08
          2/1/2020                  6/12/2020               760       1491.18   $               (731.18)   $           499.90
                                    6/23/2020               760                 $                760.00    $         1,259.90
         3/1/2020                   6/26/2020               760       1491.18   $               (731.18)   $           528.72
         4/1/2020                  12/29/2020              2813       1491.18   $              1,321.82    $         1,850.54
         5/1/2020                                                     1491.18   $             (1,491.18)   $           359.36
         6/1/2020    Consent order amount              7779.32        1491.18   $              6,288.14    $         6,647.50
         7/1/2020                                                     1491.18   $             (1,491.18)   $         5,156.32
         8/1/2020                                                     1491.18   $             (1,491.18)   $         3,665.14
         9/1/2020                                                     1491.18   $             (1,491.18)   $         2,173.96
        10/1/2020    Due MFR atty fees                    -1031                 $             (1,031.00)   $         1,142.96




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